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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------x
                                                                  :
J.C.,                                                             :
                                                                  :
                           Plaintiff,                             :
                                                                  :
         -against-                                                : Case No.
                                                                  :
ROBERT ALLEN ZIMMERMAN a/k/a BOB
                                                                  :
DYLAN,
                                                                  :
                           Defendant.                             :
                                                                  :
                                                                  :

------------------------------------------------------------------x

                     DEFENDANT BOB DYLAN’S NOTICE OF REMOVAL

        Defendant Bob Dylan hereby files this Notice of Removal pursuant to 28 U.S.C. §§ 1332,

1441, and 1446. Defendant states as follows:

                                        THE REMOVED ACTION

        1.       On August 13, 2021, Plaintiff, who has so far identified herself only by her

initials, “J.C.,” filed a Complaint and Demand for Jury Trial in the Supreme Court of the State of

New York, New York County (Index No. 951450/2021). The Complaint is attached hereto as

Exhibit A pursuant to 28 U.S.C. § 1446(a). On August 31, 2021, the Court filed a series of Case

Management Orders, docket numbers 2 through 8, related to its management of cases proceeding

under the Child Victims Act, 22 NYCRR 202.72. The Case Management Orders are attached

hereto as Exhibits B, C, D, E, F, G, and H. Plaintiff served the Complaint on Defendant on

December 13, 2021. Plaintiff filed the Affirmation of Service on December 27, 2021, attached

hereto as Exhibit I. Plaintiff filed an Amended Complaint on December 27, 2021, attached

hereto as Exhibit J. Defendant filed his Answer on January 6, 2022, attached hereto as Exhibit
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K. Defendant filed his Notice of Deposition of J.C. on January 6, 2022, attached hereto as

Exhibit L. Defendant filed his Corrected Answer on January 6, 2022, attached hereto as Exhibit

M.

        2.      This action is a New York tort liability suit. Plaintiff alleges that Defendant is

liable for Assault, Battery, False Imprisonment, and Intentional Infliction of Emotional Distress.

Ex. J ¶¶ 15–39. Plaintiff alleges that she has “sustained physical and psychological injuries . . .

of a permanent and lasting nature, and J.C. has and/or will become obligated to expend sums of

money for treatment.” Ex. J ¶ 14.

        3.      No additional pleadings have been filed in this matter.

                                   GROUNDS FOR REMOVAL

        4.      Under 28 U.S.C. § 1332, this Court has original jurisdiction over Plaintiff’s

action. There is complete diversity between the parties and the amount in controversy exceeds

$75,000. Removal is proper under 28 U.S.C. §§ 1441 and 1446.

                                 DIVERSITY OF CITIZENSHIP

        5.      This action is removable because the requirements of 28 U.S.C. § 1332 for

diversity jurisdiction are met. There is complete diversity of citizenship for purposes of federal

jurisdiction.

        6.      Plaintiff is a citizen of the State of Connecticut. Plaintiff asserts that she

“currently resides in Greenwich, Connecticut” (Ex. J ¶ 3), and thus satisfies the first prong of the

domicile test. See Cornwall Mgmt. Ltd. v. Thor United Corp., 2013 WL 5548812, at *3

(S.D.N.Y. Oct. 8, 2013). Absent any evidence to the contrary, it is reasonable to believe that

Plaintiff intends to remain in Connecticut, satisfying the second prong of the domicile test. See

id. Therefore, Plaintiff is a citizen of Connecticut.




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       7.      Plaintiff’s Summons correctly states that Defendant is domiciled in the State of

California. Ex. A at 1. Defendant intends to remain domiciled in California, and is thus a citizen

of California. See id. Therefore, there is complete diversity.

                                 AMOUNT IN CONTROVERSY

       8.      Under N.Y. CPLR 3017, a plaintiff seeking to recover for personal injuries is

prohibited from pleading a specific amount of damages in a complaint; however, Defendant can

assert with reasonable probability that the sum demanded by Plaintiff exceeds $75,000. See 28

U.S.C. § 1446(c)(2)(A).

               a.     To satisfy the amount in controversy requirement “a defendant’s notice of

       removal need include only a plausible allegation that the amount in controversy exceeds

       the jurisdictional threshold.” Dart Cherokee Basin Operating Co. v. Owens, 574 U.S. 81,

       89 (2014). “[W]hen a defendant seeks federal-court adjudication, the defendant’s

       amount-in-controversy allegation should be accepted when not contested by the plaintiff

       or questioned by the court.” Id. at 87.

               b.     Plaintiff alleges that Defendant is liable for Assault, Battery, False

       Imprisonment, and Intentional Infliction of Emotional Distress. Ex. J ¶¶ 15–39. Plaintiff

       alleges that she has “sustained physical and psychological injuries . . . of a permanent and

       lasting nature, and J.C. has and/or will become obligated to expend sums of money for

       treatment.” Ex. J ¶ 14.

               c.     Plaintiff seeks past, present, and future damages related to her alleged

       injuries, to be determined at trial. Ex. J ¶¶ 19–20; 25–26; 31–32; 37–39.

               d.     Finally, Plaintiff seeks punitive damages, which is highly relevant to the

       question of the amount in controversy. See Peoples Club of Nigeria Int’l, Inc. v. Peoples

       Club of Nigeria Int’l – New York Branch, Inc., 821 F. App’x 32, 35 (2d Cir. 2020) (“[I]f


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       punitive damages are permitted under the controlling law, the demand for such damages

       may be included in determining whether the jurisdictional amount is satisfied.”) (quoting

       A.F.A. Tours, Inc. v. Whitchurch, 937 F.2d 82, 87 (2d Cir. 1991)); Quinones-Velazquez v.

       Maroulis, 677 F. App’x 801, 804 (3d Cir. 2017), as amended (Feb. 8, 2017) (“A claim

       for punitive damages must be considered in determining the amount in

       controversy . . . .’”) (citation omitted).

               e.      The Supreme Court of the State of New York permits recovery in excess

       of $75,000.

               f.      While Defendant wholly denies the allegations in the Complaint, based on

       the nature of the allegations, and damages sought in comparable actions, it is clear that

       the alleged damages Plaintiff will seek at trial will amount to more than $75,000. See

       Doe v. Roman Cath. Diocese, 2021 WL 790834, at *3–4 (N.D.N.Y. Mar. 2, 2021). As

       such, “removal of this case to federal court” is not “premature because the Amended

       Complaint did not state an amount in controversy” since Defendant “‘need include only a

       plausible allegation that the amount in controversy exceeds the jurisdictional threshold.’”

       Jean-Louis v. Carrington Mortgage Servs., LLC, 849 Fed. Appx. 296, 299 n.15 (2d Cir.

       2021) (quoting Dart, 574 U.S. at 89).

                        REMOVAL TO THIS DISTRICT IS PROPER

       9.      Removal to this District is proper because the Supreme Court of the State of New

York, County of New York, where the underlying state action was filed, is within the Southern

District of New York. See 28 U.S.C. § 1446(a).

   DEFENDANT WILL COMPLY WITH THE WRITTEN NOTICE REQUIREMENT




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       10.     Pursuant to 28 U.S.C. § 1446(d), Defendant will promptly give written notice of

this Notice of Removal to Plaintiff’s counsel of record and will file a copy of this Notice of

Removal with the clerk of the state court in which the state court action is pending.

                                 RESERVATION OF RIGHTS

       11.     By filing this Notice of Removal, Defendant does not waive and expressly

reserves any rights, claims, actions, defenses, arguments, or set-offs to which he is or may be

entitled in law or at equity, including any and all defenses available under Rule 12 of the Federal

Rules of Civil Procedure. Defendant does not concede that Plaintiff has pleaded any claim upon

which relief may be granted. Defendant reserves the right to amend or supplement this Notice as

may be appropriate.

       Wherefore, pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, Defendant hereby removes

this action to the United States District Court for the Southern District of New York from the

Supreme Court of the State of New York, New York County. Defendant respectfully requests

that the Court enter such orders and grant such other and further relief as may be necessary to

effectuate the removal.




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Dated: January 12, 2022            Respectfully submitted,
       Buffalo, NY                 HURWITZ & FINE, P.C.



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